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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF OHIO
EASTERN DIVISION

 

UNITED STATES OF AMERICA, INDICTMENT

     

Plaintiff,

)
)

v. » SsindG CR 55¢
) Title 18, United States Code,
) Sections 922(g)(1) and (0); Title
) 26, United States Code, Sections
)

5841, 5861(d) and 5871

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COUNT JUDGE NUGEI
(Felon in Possession of Firearm and Ammunition, 18 U.S.C. § 922(g)(1))

KORTNEY D. MOORE, JR.,

Defendant.

 

The Grand Jury charges:

| 1. On or about April 2, 2019, in the Northern District of Ohio, Eastern Division,
Defendant KORTNEY D. MOORE, JR. possessed a firearm and ammunition, to wit: a loaded
Glock, Model 19, 9mm caliber pistol, bearing serial number BFLN110 and twenty five (25)
rounds of ammunition, having been previously convicted of crimes punishable by imprisonment
for a term exceeding one year, those being: Possession with Intent to Deliver a Controlled
Substance, on or about September 14, 2017, in Case Number 17-F-339, in the Circuit Court of
Cabell County, West Virginia, and Attempt to Commit Possession with Intent to Deliver a
Controlled Substance, on or about January 3, 2018, in Case Number 17-F-471, in the Circuit
Court of Cabell County, West Virginia, and did so knowingly, said firearm and ammunition
having been shipped and transported in interstate commerce, in violation of Title 18, United

States Code, Section 922(g)(1).
 

 

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COUNT 2
(Illegal Possession of a Machinegun, 18 U.S.C. § 922(0))

The Grand Jury further charges:

2. On or about April 2, 2019, in the Northern District of Ohio, Eastern Division,
Defendant KORTNEY D. MOORE, JR. did knowingly possess a machinegun, to wit: a Glock,
Model 19, 9mm caliber pistol, bearing serial number BFLN110, with an installed conversion
device which is designed to shoot automatically, more than one shot, without manual reloading,
by a single function of a trigger, in violation of Title 18, United States Code, Section 922(0).

COUNT 3
(Receipt or Possession of Unregistered Firearm, 26 U.S.C. § 5861(d))

The Grand Jury further charges:

3. On or about April 2, 2019, in the Northern District of Ohio, Eastern Division,
Defendant KORTNEY D. MOORE, JR. did knowingly receive and possess a firearm, to wit: a
Glock, Model 19, 9mm caliber pistol, bearing serial number BFLN110, with an installed
conversion device which is designed to shoot automatically, more than one shot, without manual
reloading, by a single function of a trigger, not registered to him in the National Firearms
Registration and Transfer Record, in violation of Title 26, United States Code, Sections 5841,
5861(d) and 5871.

FORFEITURE
The Grand Jury further charges:
For the purpose of alleging forfeiture pursuant to Title 18, United States Code,
Section 924(d)(1), Title 26, United States Code, Section 5872, and Title 28, United States Code,
Section 2461(c), the allegations of Counts 1 through 3 are incorporated herein by reference. Asa

result of the foregoing offenses, Defendant KORTNEY D. MOORE, JR., shall forfeit to the
 

 

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United States all property (including firearms and ammunition) involved in or used in the

commission of such violations.

A TRUE BILL.

Original document - Signatures on file with the Clerk of Courts, pursuant to the E-Government
Act of 2002.
